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IN 'I'HE UNITED S'I'ATES DISTRICT COURT Hl'ED c'
FOR THE wESTERN DISTRICT OF TENNESSEE _
wEsTERN DIVISION 95 AUG "3 PH 5- 15

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SYLVESTER L. FARMER,
Petitioner,

vs. No. 03-2130-D

ROBERT WALLER ,

Respondent.

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ORDER CORRECTING 'I‘HE DOCKET
ORDER DENYING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER OF DISMISSAL
ORDER DENYING CER'I'IFICATE OF APPEALABILITY
AND
ORDER CER'I'IFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner Sylvester L. Farmer, Tennessee Department of
Correction prisoner number 154129, who is currently an inmate at
the Lois M. DeBerry Special Needs Facility (“LDSNF”) in Nashville,
Tennessee, filed a p;g §§ petition for a writ of habeas corpus
pursuant to 28 U.S.C. § 2254 in the United States District Court
for the Middle District of Tennessee on January 16, 2003. Farmer
paid the habeas filing fee and also filed a motion seeking leave to
proceed in §g;ma pauperis. District Judge Todd Campbell issued an
order on February 7, 2003 transferring the petition to this
district, where it was docketed on March 4, 2003. The Clerk shall

record the respondent as Robert Waller, the current warden of the

h' document entered on the docket heat m co:r.pi!s.nce _
Tlls § _g OS/ 1
with Ru|a 58 and/or 79('¢1) FFiCP on

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LDSNF. The Clerk shall terminate James M. Davis, the warden at the
petitioner's previous prison, as a party to this action.

Because the petitioner has paid the habeas filing fee,
the motion to proceed in §g;ma pauperis is DENIED as moot.

I. STATE COURT PROCEDURAL HISTORY

On November 14, 1990, Farmer was convicted after a jury
trial in the Shelby County Criminal Court of second degree murder
in connection with the shooting death of his wife, and he was
sentenced as a Range I offender to twenty-five (25) years
imprisonment. The Tennessee Court of Criminal Appeals affirmed.
State v. Farmer, 841 S.W.Zd 837 (Tenn. Crim. App. 1992), perm. app.
dismissed (Tenn. Aug. 31, 1992).

Farmer filed a petition pursuant to the then-current
version of the Tennessee Post-Conviction Procedure Act, Tenn. Code
Ann. §§ 40-30-201 to -222, in the Shelby County Criminal Court on
or an unspecified date in which he alleged that his trial and
appellate counsel rendered ineffective assistance in violation of
the Sixth Amendment. The postconviction court denied the petition
without an evidentiary hearing, and the Tennessee Court of Criminal
Appeals affirmed. §a;mg;;yg_§t§;§, No. 02C01-9602-CR-00067, 1998 WL
107999 (Tenn. Crim. App. Mar. 13, 1998), perm*_app;“§§g;gg (Tenn.

Sept. 21, 1998).

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II. PETITIONER'S FEDERAL HABEAS CLAIMS

The issues presented in this federal habeas petition are

not clearly articulated. The issues that were enumerated are as

follows:

1. Whether the indictments are unconstitutional;

2. Whether he was charged with a nonexistent felony
under a repealed enhancement statute concerning
employment of a homicide;

3. Whether the indictments were charging two different
offenses concerning the homicide, rendering it
impossible for a reasonable trier of fact to have
concluded that he was guilty beyond a reasonable
doubt;

4. Whether the indictments are fatally defective
because the material issues were not proven; and

5. Whether the trial court should have given the jury

the option of convicting the petitioner of a lesser
included offense.

In addition, the petition also includes excerpts from the various
state-court documents, interspersed with. the petitioner's
commentary, that appears to raise additional issues.
III. ANALYSIS OF THE MERITS

The first issue to be considered is the timeliness of
this petition. Twenty-eight U.S.C. § 2244(d) provides:

(l) A l-year period of limitation shall apply to an

application for a writ of habeas corpus by a person

in custody' pursuant to the judgment of a State

court. The limitation period shall begin to run

from the latest of-

(A) the date on which the judgment became final by
the conclusion of direct review or the

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expiration of the time for seeking such
review;

(B) the date on which the impediment to filing an
application created by State action in
violation of the Constitution or laws of the
United States is removed, if the applicant was
prevented from filing by such State action;

@ the date on which the constitutional right
asserted was initially recognized by the
Supreme Court, if the right has been newly
recognized by the Supreme Court and made
retroactively applicable to cases on
collateral review; and

(D) the date on which the factual predicate of the
claim. or claims presented could have been
discovered through the exercise of due
diligence.

(2) The time during which a properly filed application

for State post-conviction or other collateral

review with respect to the pertinent judgment or

claim is pending shall not be counted toward any

period of limitation under this subsection.
Petitioners whose convictions became final before the effective
date of the AEDPA had a one-year grace period, until April 24,
1997, to seek federal habeas relief. Brown v. O’Dea, 187 F.3d 572,
577 (6th Cir. 1999), vacated on other grounds, 530 U.S. 1257
(2000).l

Application of these provisions in this case is fairly

straightforward, although it is not possible tc calculate precisely

when the limitations period expired because the date on which

 

1 State convictions ordinarily become “final” within the meaning of §
2244(d)(1)(A) at the expiration of the time for filing a petition for a writ of
certiorari from a decision of the highest state court on direct appeal. Bronaugh
v. OhiO, 235 F.3d 280, 283 (Gth Cir. 2000).

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Farmer filed his postconviction petition is unknown. Because
Farmer's conviction became final before April 23, 1996, he had
until April 23, 1997 to file a timely § 2254 petition. The running
of the limitations period was tolled, pursuant to 28 U.S.C. §
2244(d)(2), when Farmer filed his postconviction petition, and the
running of the limitations period recommenced on December 21, 1998,
the expiration of the time for filing a petition for a writ of
certiorari in connection with the dismissal of his postconviction
petition. The one-year limitations period expired no later than
December 21, 1999, and this petition, which was signed on December
17, 2002, is plainly time barred.2
The one-year limitations period applicable to § 2254

motions is subject to equitable tolling. Griffin v. Rogers, 308
F.3d 647, 652-53 (6th Cir. 2002); see also Dunlap v. United States,
250 F.3d 1001, 1004 (6th Cir. 2001) (equitable tolling also applies
to § 2255 motions). Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(1) the petitioner's lack of notice of the filing

requirement; (2) the petitioner's lack of constructive

notice of the filing requirement; (3) diligence in

pursuing one's rights; (4) absence of prejudice to the

respondent; and (5) the petitioner's reasonableness in

remaining ignorant of the legal requirement for filing
his claim.

 

2 Section 2244 (d) (1) provides that the limitations period begins to run
from the latest of the four specified circumstances. In this case, however, an
examination of Farmer's petition reveals no basis for concluding that the
limitations period commenced at any time later than the date on which his
conviction became final.

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Dunlap, 250 F.3d at 1008.3

The Sixth Circuit has stated that “equitable tolling

relief should be granted only sparingly.” Amini, 259 F.3d at 500;

 

see also Vroman v. Briqano, 346 F.3d 598, 604 (6th Cir. 2003);

Jurado V. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

 

Typically, equitable tolling applies only when a

litigant's failure to meet a legally-mandated deadline

unavoidably arose from circumstances beyond that

litigant's control. . . . Absent compelling equitable

considerations, a court should not extend limitations by

even a single day.
Graham-Humphrevs v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also Kinq v. United States, 63 Fed. Appx.
793, 795 (6th Cir. Mar. 27, 2003); Johnson v. U.S. Postal Serv.,
No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing to
apply equitable tolling when.pro §§ litigant missed filing deadline
by one day). Thus, ignorance of the law by pro §§ litigants does
not toll the limitations period. grigehyg_gamrgg, 79 Fed. Appx.
110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed.
Appx. 682, 685-86 (6th Cir. Jan. 22, 2003); Mille;_y;_§g§gn, 49
Fed. Appx. 495, 497 (6th Cir. Sept. 27, 2002) (“Miller's lack of
knowledge of the law does not excuse his failure to timely file a

habeas corpus petition.”); Brown v. United States, 20 Fed. Appx.

373, 374 (6th Cir. Sept. 21, 2001) (“Ignorance of the limitations

 

3 This five-factor standard is identical to the test used to determine
whether equitable tolling is appropriate in other contexts, including employment
discrimination cases. Amini v. Oberlin College, 259 F.3d 493, 500 (6th Cir.
2001) (citing Dunlap); Truitt v. County of Wavne, 148 F.3d 644, 648 (6th Cir.
1998) .

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period does not toll the limitations period.”); cf. Jurado, 337

 

F.3d at 644-45 (lawyer's mistake is not a proper basis for
equitable tolling).4

Farmer cannot satisfy his burden of demonstrating that
equitable tolling would be appropriate in this case. The petition
presents no explanation for Farmer's failure to file a timely
habeas petition. Although it is possible that Farmer was unaware of
the federal limitations period, that ignorance does not excuse his
failure timely to file. Moreover, in light of the four-year delay
between the dismissal of Farmer’s postconviction petition and the
filing of the instant petition, Farmer was not diligent in
protecting his rights. §ee Pace v. DiGucliolmo, 125 S. Ct. 1807,
1815 (2005).

Accordingly, the Court DISMISSES the petition, in its
entirety, as time barred.5

IV. APPEAL ISSUES

 

The Court must also determine whether to issue a

certificate of appealability (“COA”). The statute provides:

 

4 See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a
petitioner does not have a right to assistance of counsel on a habeas appeal .
. , and because an inmate‘s lack of legal training, his poor education, or even
his illiteracy does not give a court reason to toll the statute of limitations
. . , we are loath to impose any standards of competency on the English
language translator utilized by the non-English speaking habeas petitioner.”).

5 Although the Court ordinarily does not address the merits of untimely
claims, it is also readily apparent that Farmer did not exhaust the claims
presented in this petition in state court, as required by 28 U.S.C. § 2254(b)(1).
As no further avenues exist for doing so, the claims are barred by procedural
default.

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(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from_

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA). No
§ 2254 petitioner may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue

limitations on the issuance of certificates of appealability:

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[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordinglyll a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. lt is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,

 

463 U.S. at 893). Thus,
A.prisoner seeking a COA must prove “‘something more

than the absence of frivolity'” or the existence of mere

“good faith” on his or her part. . . . We do not require

petitioners to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus.

Indeed, a claim can be debatable even though every jurist

of reason might agree, after the COA.has been granted and

the case has received full consideration, that petitioner

will not prevail.
Id. at 338 (quoting Barefoot, 463 U.S. at 893); see_alsg id. at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the
resolution of that debate.”).6

In this case, there can be no question that any appeal by

this petitioner on any of the issues raised in this petition does

 

5 By the same token, the Supreme Court also emphasized that “[o]ur
holding should not be misconstrued as directing that a COA always must issue.”
ng at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

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not deserve attention as the petition is time barred. The Court,
therefore, DENIES a certificate of appealability.

The Sixth Circuit has held that the Prison Litigation
Reform Act of 1995, 28 U.S.C. § 1915(a)-(b), does not apply to
appeals of orders denying habeas petitions. Kincade v. Sparkman,
117 F.3d 949, 951 (6th Cir. 1997). Rather, to appeal ip fp;ma
pauperis in a habeas case, and thereby avoid the $255 appellate
filing fee required by 28 U.S.C. §§ 1913 and 1917, the prisoner
must obtain pauper status pursuant to Federal Rule of Appellate
Procedure 24(a). Kincade, 117 F.3d at 952. Rule 24(a) provides that
a party seeking pauper status on appeal must first file a motion in
the district court, along with a supporting affidavit. Fed. R. App.
P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or
otherwise denies leave to appeal ip fp;pa pappp;is, the prisoner
must file his motion to proceed pp fp;pg pappppi§ in the appellate
court. §pp Fed. R. App. P. 24(a)(4)-(5).

In this case, for the same reasons the Court denies a
certificate of appealability, the Court determines that any appeal
would. not be taken in. good faith. It is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter
is not taken in good faith, and leave to appeal ip fp;ma ppppp;;p
is DENIED. Accordingly, if petitioner files a notice of appeal, he

must also pay the full $255 appellate filing fee or file a motion

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to proceed ip forma pauperis and supporting affidavit in the Sixth

Circuit Court of Appeals within thirty (30) days.

IT IS SO ORDERED this érg day of August, 2005.

    

ICE B. DoNAtD
ITED sTATEs DISTRICT JUDGE

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EESSEE

    

UNITED TATS D"IRIC COURT - WERESTN DISTRICT oF

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
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Sylvester L. Farmer

DEBERRY SPECIAL NEEDS FACILITY
# l 54129

7575 Cockrill Bend Industrial Rd.
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Honorable Bernice Donald
US DISTRICT COURT

